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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

Jonathan Nootens, individually and on behalf                      1:22-cv-07010
of all others similarly situated,
                                 Plaintiff,

                   - against -                                Class Action Complaint

Molson Coors Beverage Company,
                                                               Jury Trial Demanded
                                 Defendant

       Plaintiff alleges upon information and belief, except for allegations about Plaintiff, which

are based on personal knowledge:


       1.    Molson Coors Beverage Company (“Defendant”) manufactures, labels, markets,

distributes, and sells “Ranch Water Hard Seltzer” containing “100% Agave & Real Lime Juice”

containing “Spiked Sparkling Water” under the Topo Chico brand (“Product”).
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       2.    The label includes pictures of the agave plant, the source crop for tequila and states

“4.7% Alc. Vol.” (“ABV” or alcohol by volume).

I.    ORIGINS OF RANCH WATER

       3.    Ranch water likely originated in the 1960s in the blazing sun on West Texas ranches

where cowboys worked long days.

       4.    They would often begin the day with a thermos full of tequila and ice, and after lunch

they would add lime, a staple of their Tex-Mex cuisine.

       5.    At some point, carbonated water was added to improve refreshment.

       6.    Ranch water’s popularity has spread beyond Texas for numerous reasons.

       7.    First, according to the founder of a brand of ranch water, its lack of a sweetener

dovetails with consumers’ “shift[ing] away from sugary, high-calorie cocktails.”

       8.    Second, its limited and simple ingredients are consistent with consumer avoidance

of beverages with synthetic components in favor of what they can make at their backyard parties.

       9.    Third, ranch water is not highly processed through complicated machinery, and made

by pouring tequila, lime juice and sparkling water over ice, a formula that works even for canned

and ready-to-drink (“RTD”) versions.

       10.   This means RTD ranch water will be similar to those made and served at authentic

Texas icehouses, open-air dive bars where Texans go to cool off.

       11.   Fourth, tequila, based on the agave plant, is “the fastest-growing spirits category,”

resulting in its use in numerous canned beverages.

       12.   Fifth, ranch water fits into the trend of “better for you” alcoholic drinks which are

based on alcohol but contain natural and simple ingredients including fruit.

       13.   Sixth, novel technologies and regulatory adjustments have resulted in a boom of



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“canned cocktails,” which are alcoholic beverages containing spirt ingredients instead of having a

base of malt liquor or beer based on sugar or barley.

        14.   Seventh, ranch water is considered an “upgrade to a hard seltzer,” made with “vague

ingredients such as malted liquor and natural flavors,” as opposed to sparkling water, lime and

tequila.1

        15.   Eighth, its roots in the western rancher mythos appeal to a sense of adventure.

II.   LABEL INDICATES              PRODUCT           WILL     CONTAIN        RANCH        WATER
      INGREDIENTS

        16.   Consumers will expect the Product contains ingredients associated with ranch water

because that is what the packaging and label tells them.

        17.   First, “Hard Seltzer” beneath “Ranch Water” contributes to the expectation the

Product will contain tequila because “hard” in the context of alcohol refers to distilled spirits or

“hard liquor.”

        18.   The one exception applies to the fermented apple beverage of “hard cider.”

        19.   Various theories exist about how the term “hard” became associated with cider.

        20.   One contends that “hard” was implicit in the Middle English definition of cider as a

“strong drink.”

        21.   Another posits that “hard” distinguished fermented apple juice with alcohol from

non-fermented and non-alcoholic fresh pressed apple juice.

        22.   Based on this historical association, the IRS and regulatory authorities adopted the

term “hard cider” only in the context of fermented apple beverages.

        23.   Outside of this context, however, consumers understand “hard” in the context of


1
  https://www.thedrinksbusiness.com/2022/05/how-tequila-and-hard-seltzer-trends-are-boosting-
ranch-waters-popularity/


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alcoholic beverages to refer to distilled spirits, like tequila.


          24.   Second, the description of the Product as “Spiked Sparkling Water” exploits

consumers’ understanding of “spiked” referring to the addition of hard liquor to a non-alcoholic

drink.

          25.   While companies like Defendant “take advantage of the consumer’s lack of

knowledge about both ‘ranch water’ and hard seltzer itself to sell them a drink full of fake tequila

flavors,” RTD ranch water brands which contain tequila, sparkling water and real lime are sold by

competitor brands like Ranch Rider and are not technologically or commercially unfeasible.




III. PRODUCT LACKS TEQUILA AND ADDS SWEETENER

          26.   The representations are misleading because though the ingredient list discloses

carbonated water and lime, it fails to list tequila and adds a sweetener in the form of “agave syrup,”

from the source crop of tequila.




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                                               INGREDIENTS: FILTERED CARBONATED
                                               WATER, ALCOHOL, LIME JUICE FROM
                                               CONCENTRATE, NATURAL FLAVORS,
                                               AGAVE SYRUP, SODIUM CITRATE, CITRIC
                                               ACID, MAGNESIUM CHLORIDE*, SALT*,
                                               POTASSIUM CHLORIDE*. (MINERALS FOR
                                               TASTE)

       27.    Even if purchasers read the ingredient list, they will only be told the Product contains

“alcohol,” not that this alcohol is not from tequila.

       28.    Even if purchasers read the ingredient list, by listing “alcohol” instead of “alcohol

(from fermented sugar),” consumers are not told its source is not tequila and agave.

       29.    Though alcoholic beverages such as the Product are required to indicate the class

they fit into, “Ranch Water” above “Hard Seltzer” and “Spiked Sparking Water” fails to do so.

       30.    Consumers are not told the Product they are buying not only lacks tequila but is

classified as a flavored beer.

       31.    One writer noted that “[E]ven despite the hard seltzer boom … many consumers still

don’t understand, or care to understand” that products sold as “hard seltzer” typically “make use

of alcohol created by fermentation, rather than blending in small amounts of distilled spirits with

sparkling water.”2

       32.    The article stated that “spreading the concept of ranch water to the masses, [through]

hard seltzer[s] with the words ‘ranch water’ slapped across [it]” is “inherent deception.”

       33.    Companies like Defendant “do nothing to dissuade the consumer from assuming that

there’s actual tequila in their drink, and [] actually appear[s] to be reinforcing the deception with


2
 Jim Vorel , Hard Seltzer and "Ranch Water" are a Perfect Combination ... for Deception, Sept.
21, 2021.


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their choices in marketing language” such as “100% Agave & Real Lime Juice” containing

“Sparkling Water.”

       34.    Paste Magazine noted that “‘100% [] agave’ [] is [] a clever turn of phrase [because]

tequila is a product of 100% agave,” but that this “presumably refer[s] to the fact that the Product

also contains agave nectar for sweetening.”

       35.    The Product “can’t genuinely reproduce the actual flavor profile of ranch water,

because ‘alcohol from sugar’ [] … is just neutrally flavored booze that doesn’t taste like tequila.”

       36.    Nor does “agave nectar” taste like tequila, even though both are from the agave plant.

       37.    This result is that “the entire burden of the ‘tequila’ part of a canned ranch water

seltzer – the part that is supposed to be the core of the flavor profile – on the ‘natural flavors’ …

[W]hich is to say, fake tequila flavoring.”

       38.    Finally, the Product does not include Topo Chico naturally sparkling mineral water

from Mexico, which is essential to a ranch water sold under this brand.

       39.    When people make ranch water and add Topo Chico, they are doing so because they

value the contributions of its water to the beverage.

IV.   CONCLUSION

       40.    The Product contains other representations and omissions which are false and

misleading.

       41.    As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than $18.99 for a twelve-pack of 12 oz cans, excluding tax

and sales.

                                      Jurisdiction and Venue

       42.    Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.



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§ 1332(d)(2).

        43.     The aggregate amount in controversy exceeds $5 million, including any statutory and

punitive damages, exclusive of interest and costs.

        44.     Plaintiff is a citizen of Illinois.

        45.     Defendant is a Delaware corporation with a principal place of business in Illinois.

        46.     The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen.

        47.     The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold with the representations described here from thousands of stores and over

the internet, in the States Plaintiff seeks to represent.

        48.     Venue is in this District with assignment to the Eastern Division because a substantial

part of the events or omissions giving rise to these claims occurred in Kendall County, including

Plaintiff’s purchase, reliance on the identified statements, and subsequent awareness these were

false and misleading.

                                                      Parties

        49.     Plaintiff Jonathan Nootens is a citizen of Oswego, Kendall County, Illinois.

        50.     Defendant Molson Coors Beverage Company is a Delaware corporation with a

principal place of business in Chicago, Cook County, Illinois.

        51.     Defendant is one of the world’s largest sellers of alcoholic beverages under dozens

of brands.

        52.     The Topo Chico brand of sparkling mineral water is strongly linked to ranch water,

due to its Mexican origins and that country’s border with Texas.

        53.     Plaintiff purchased the Product at locations including but not necessarily limited to




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Walmart in Oswego, Illinois, in the fall of 2022, and/or among other times.

       54.     Plaintiff read “Ranch Water,” “Hard Seltzer,” “Spiked,” and “100% Agave & Real

Lime Juice,” and expected the Product contained alcohol from tequila.

       55.     Plaintiff bought the Product at or exceeding the above-referenced price.

       56.     Plaintiff paid more for the Product than he would have had he known the above-

referenced facts or would not have purchased it.

       57.     The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

       58.     Plaintiff chose between this Product and others represented similarly, but which did

not misrepresent their attributes, requirements, instructions, features, and/or components.

       59.     Plaintiff intends to, seeks to, and will purchase the Product again when he can do so

with the assurance its representations are consistent with its abilities, attributes, and/or

composition.

       60.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other brands of ranch water, because he is unsure whether those representations are truthful.

                                           Class Allegations

       61.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                        Illinois Class: All persons in the State of Illinois who
                        purchased the Product during the statutes of
                        limitations for each cause of action alleged; and

                        Consumer Fraud Multi-State Class: All persons in
                        the States of Texas, South Dakota, Wyoming, Idaho,
                        Alaska, Iowa, Mississippi, West Virginia, Arkansas,
                        South Carolina, Maine and Utah who purchased the
                        Product during the statutes of limitations for each
                        cause of action alleged.

       62.     Common questions of issues, law, and fact predominate and include whether



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Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       63.      Plaintiff’s claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       64.      Plaintiff is an adequate representative because his interests do not conflict with other

members.

       65.      No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       66.      Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       67.      Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       68.      Plaintiff seeks class-wide injunctive relief because the practices continue.

                    Illinois Consumer Fraud and Deceptive Business Practices Act
                                  (“ICFA”), 815 ILCS 505/1, et seq.

       69.      Plaintiff incorporates by reference all preceding paragraphs.

       70.      Plaintiff saw and relied on the label and expected the Product contained some alcohol

from tequila.

       71.      Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                               Violation of State Consumer Fraud Acts
                                 (Consumer Fraud Multi-State Class)

       72.      The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or




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deceptive business practices in the conduct of commerce.

       73.      The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       74.      Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct, which they did, suffering damages.

                                  Breaches of Express Warranty,
                Implied Warranty of Merchantability/Fitness for a Particular Purpose
                  and Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       75.      The Product was manufactured, identified, marketed, and sold by Defendant and

expressly and impliedly warranted to Plaintiff that it contained some alcohol from tequila.

       76.      Defendant directly marketed the Product to Plaintiff through its advertisements and

marketing, through various forms of media, on the packaging, in print circulars, direct mail,

product descriptions, and targeted digital advertising.

       77.      Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet their needs and desires, which

was alcohol from distilled spirits and tequila.

       78.      The representations about the Product were conveyed in writing and promised it

would be defect-free, and Plaintiff understood this meant it contained some alcohol from tequila.

       79.      Defendant’s representations affirmed and promised that it contained some alcohol

from tequila.

       80.      Defendant described the Product so Plaintiff believed it contained some alcohol from

tequila, which became part of the basis of the bargain that it would conform to its affirmations and

promises.




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       81.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       82.   This duty is based on Defendant’s outsized role in the market for this type of Product,

custodian of the Topo Chico brand of ranch water.

       83.   Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       84.   Plaintiff provided or provides notice to Defendant, its agents, representatives,

retailers, and their employees that it breached the Product’s warranties.

       85.   Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       86.   The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       87.   The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container, or label, because it was

marketed as if it contained some alcohol from tequila.

       88.   The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because he expected that it

contained some alcohol from tequila, and he relied on its skill and judgment to select or furnish

such a suitable product.

                                   Negligent Misrepresentation

       89.   Defendant had a duty to truthfully represent the Products, which it breached.

       90.   This duty was non-delegable, based on Defendant’s holding itself out as having




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special knowledge and experience in this area, custodian of the Topo Chico brand, most associated

with ranch water.

       91.   Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, and incorporated the extra-labeling promises and

commitments to quality and transparency the Topo Chico brand has been known for, especially

when it comes to ranch water.

       92.   These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       93.   The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       94.   Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, his purchase of the Product.

                                               Fraud

       95.   Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it contained some alcohol from tequila.

       96.   Defendant knows the Product does not contain tequila but relies on consumers’

confusion about ranch water and the term “hard seltzer” to make them think otherwise.

                                        Unjust Enrichment

       97.   Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.




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                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Certifying Plaintiff as representative and the undersigned as counsel for the classes;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Awarding monetary, statutory and/or punitive damages and interest;

   4. Awarding costs and expenses, including reasonable attorney and expert fees; and

   5. Other and further relief as the Court deems just and proper.

Dated: December 13, 2022
                                                       Respectfully submitted,

                                                       /s/ Spencer Sheehan
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